Case 1:21-cv-02131-CJN-MAU Document 82-6 Filed 03/22/24 Page 1 of 2




         Exhibit 27
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                                                   nimbus screenshot       03/22/24 Page 2 of 2
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